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          EXHIBIT “B”
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BAXTER
YEAR                      BASE SALARY BONUS                      BENEFITS*       Options (sh)      Estimated Value
8/1/2003-7/2004                 $157,500               $31,500           $18,900              3500        $105,000.00
8/1/2004-7/2005                 $165,375               $33,075           $65,489              3500        $105,000.00
8/1/2005-7/2006                 $173,644               $34,729           $68,763              3500        $105,000.00
8/1/2006-7/2007                 $182,326               $36,465           $72,201              3500        $105,000.00
8/1/2007-7/2008                 $191,442               $38,288           $75,811              3500        $105,000.00
8/1/2008-3/2009                 $134,680               $26,936           $53,333              2345         $70,350.00
Total                          $1,004,967             $200,993          $354,497                             $595,350

Total compensation loss         $2,155,807
Note: *                   Benefits include vacation payments, medical, dental and vision insurance, employment investment
**                        Items are prorated for 8 months
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company match.
